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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION

 KETRA GOINS,

             Plaintiff,                        CIVIL ACTION
                                               FILE NO.: 1:23-cv-02951-SDG
 v.

 MARK SEAGRAVES AND OLD
 DOMINION FREIGHT LINE, INC.,

             Defendants.


 DEFENDANTS’ REPLY BREIF IN SUPPORT OF MOTION TO COMPEL
 PRODUCTION OF CARECLOUD REPORT FROM GEORGIA SPINE &
        ORTHOPEDICS OR FOR FORENSIC INSPECTION

            COME NOW, Defendants and file their Reply Brief in Support of

Defendants’ Motion to Compel pursuant to Fed R. Civ. P. 34 (a)(1)(A) (allowing

discovery of “data compilations—stored in any medium from which information can

be obtained either directly, or if necessary, after translation by the responding party

into reasonably usable form”) and show as follows:

                               EXECUTIVE SUMMARY

            Georgia Spine and Orthopedics (“GSO”) opposes Defendants’ Motion on two

substantive grounds: (1) the information sought is neither reasonable nor necessary;

and (2) the information sought is protected by HIPAA. Defendants seek evidence

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pertaining to the bias, intent and motive of Plaintiff’s disclosed causation expert, Dr.

Erik Bendiks, and the reasonableness and necessity of the bills issued by GSO. The

11th Circuit precedent makes clear that Defendants are entitled to discover evidence

on both grounds.

                                      INTRODUCTION

            GSO has consistently argued that it does not maintain a list of law firms or

referral partners. In furtherance of their argument, GSO has disavowed prior sworn

testimony of an employee (Dena Alexander) because she does not have “a true

understanding of GSO’s operations and systems.” GSO Resp., at 4. However, the

evidence disputing GSO’s representation to the Court and sworn testimony of their

corporate representative is overwhelming.1 Further, another GSO employee –

Chastity Millsaps - testified under oath that she was fired for producing documents

in response to a subpoena. A true and accurate copy of the transcript of the deposition

of Chastity Millsaps is attached hereto as Exhibit “1”.

            Incredibly, during the pendency of this dispute, an employee of GSO by the

name of Helen Yesuf appeared at undersigned’s office to solicit patient referrals.2

1
  Defendants previously provided the Court with two orders from state courts finding that GSO
and Mr. Smith obstructed discovery. Doc. 57, Exhibits “H” and “I”.
2
  By way of background, in 2022, the undersigned’s firm (“MKB”) was hired to represent a truck
driver in a car accident case. That driver was injured and pursued a bodily injury claim separately,
for which he received treatment from GSO. The driver apparently identified MKB as his lawyer
on his intake forms with GSO. As such, a GSO employee emailed MKB to confirm representation
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Ms. Yesuf’s discussions with attorney Matthew R. Sessions at MKB were recorded

and subsequently transcribed. The Declaration of Matthew R. Sessions, transcript of

his discussion with Helen Yesuf, and original audio recording are attached hereto as

Exhibit “3”. Ms. Yesuf’s statements make clear that GSO maintains and monitors

the identities of referral partners, including law firms. Ex. “3”. Ms. Yesuf’s visit to

MKB further establishes that GSO can search its database by law firm, and as Ms.

Yesuf stated GSO “has to be able to tell” where a patient comes from. Ex. “3”.

            GSO’s opposition to Defendant’s discovery is a continuation of its pattern and

practice of discovery obstruction and abuse. GSO has been shown to fire employees

for participating in discovery and conceal evidence. Now GSO has unequivocally

made false misrepresentations about the evidence within its control related to its

documented relationship with personal injury law firms. These continued discovery

abuses warrant a forensic review of GSO’s CareCloud software to determine the

existence of relevant evidence as outlined below.

                                        ARGUMENT

I.          The Evidence Sought by Defendants is Relevant.

            Rule 26(b)(1) of the Federal Rules of Civil Procedure provides that



and asked MKB to “confirm if (GSO) may proceed with scheduling.” A true and accurate copy of
the emails from GSO to MKB are attached hereto as Exhibit “2”.
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Defendants are entitled to seek discovery regarding

            any nonprivileged matter that is relevant to any party's claim or defense
            and proportional to the needs of the case, considering the importance of
            the issues at stake in the action, the amount in controversy, the parties'
            relative access to relevant information, the parties' resources, the
            importance of the discovery in resolving the issues, and whether the
            burden or expense of the proposed discovery outweighs its likely
            benefit.

The discovery sought by Defendants is supported by clear 11th Circuit precedent

and is relevant to the claims and defenses in this action.

            A.     The Evidence Sought is Relevant to Dr. Bendiks’ Bias, Intent and
                   Motive.

            The 11th Circuit has held testimony providing that 90-percent of a treating

physician’s laser spine surgeries were performed on patients who were involved in

personal injury litigation to be relevant (not just discoverable). Salkic v. Heartland

Express, Inc., 813 Ged. Appx. 444 (11th Cir. 2020). The 11th Circuit held that such

testimony was relevant to both the reasonable value of the medical expenses and the

bias, intent and motive of the treating physician. Id. at 447. Just as in Salkic, the

evidence sought here has “any tendency” to make bias more probable than it would

be without the evidence because “a jury might infer that Dr. (Bendiks) was

incentivized to provide more favorable testimony to (Plaintiff) because he stood to

collect from successful personal-injury actions generally and (Plaintiff’s) case in

particular.” Id. at 447, citing ML Healthcare Services, LLC v. Public Supermarkets,
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Inc., 881 F.3d 1293, 1302 (11th Cir. 2018).

            Here, Defendants seek the same evidence offered in Salkic – the volume of

Dr. Bendiks’ practice dedicated to patients who were involved in personal injury

litigation. For GSO’s business model to work, its principal, Dr. Bendiks must be able

to reliably testify in favor of causation for his personal injury patients. A true and

accurate copy of the deposition transcript of Dr. Bendiks in a recent case is attached

hereto as Exhibit “4”. Dr. Bendiks originally testified that only about 30% of his

practice was dedicated to personal injury patients. Id. at 72:14-73:2. However, later

in that same deposition he admitted the number was actually 70%. Id. at 72:1 –

76:25. But, Ms. Yesuf opined that essentially all of GSO’s patients are lien-based.

Ex. “3”. The evidence sought from GSO here will clarify whether 30%, 70% or

100% of GSO’s patients are personal injury litigants and will further shed light on

the weight of Dr. Bendiks’s financial incentives for providing such testimony. That

evidence is directly relevant to Dr. Bendiks’s bias.

            Dr. Bendiks sees about 2,000 new patients each year. Id. at 79:19 - 24. As of

November 21, Dr. Bendiks had given an astounding 131 depositions and he admitted

that in all of those depositions he had never testified that a patient was not injured in

the car accident or other mechanism giving rise to the filing of the lawsuit. Id. at

87:24 – 89:19. Despite being the sole-owner of GSO, Dr. Bendiks incredibly denies

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having any knowledge as to what revenue GSO derives from its personal injury

patients. Id. at 79:25 – 80:4. For Dr. Bendiks to continue reliably testifying GSO

could not allow a jury to see that Dr. Bendiks stands to make millions or even tens

of millions of dollars from his litigation-lien practice. That financial incentive that

GSO seeks to conceal from discovery is obviously relevant to Dr. Bendiks’s bias,

intent and motive in rendering his causation opinions for every single one of his

personal injury patients. As the 11th Circuit stated in ML Healthcare, supra:

            Defendant needed only to show that ML Healthcare's payment
            arrangement had “any tendency” to make bias more probable than it
            would be without the evidence. See Fed. R. Evid. 401(a). That
            requirement is easily satisfied here. A jury might infer that Plaintiff's
            doctors were incentivized by ML Healthcare's referral and payment
            arrangement to provide testimony that was more favorable to Plaintiff
            than it otherwise would have been. If so, the jury would have found
            bias, which is clearly a relevant consideration in evaluating a witness's
            credibility.

ML Healthcare at 1302 – 1303.

Here, the evidence is expected to show a financial incentive in favor of Dr. Bendiks’s

causation testimony valued in the tens of millions. See, Doc. 57, Exhibits “A” and

“B”. Such a large monetary incentive would certainly have “any tendency” to make

Dr. Bendiks’s bias more probable than it would be without that evidence.

            The same is true of a stream of referrals from personal injury law firms. If the

evidence shows that a majority of Dr. Bendiks’ patients are referred from personal

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injury law firms, a jury could infer that Dr. Bendiks was incentivized by his referral

arrangement to provide testimony that was more favorable to Plaintiff than it

otherwise would have been. Id. Defendants are therefore entitled to the evidence

sought and respectfully request the Court grant Defendants’ Motion to Compel.

            B.     The Evidence Sought is Relevant to the Reasonableness and
                   Necessity of Plaintiff’s Claimed Medical Expenses.

            The 11th Circuit has also held that the question of “[w]hether (a plaintiff’s

medical) expenses were reasonable and necessary is a critical inquiry under

Georgia law. Showan v. Presdee, 922 F.3d 1211 (11th Cir. 2019) citing MCG

Health, Inc. v. Kight, 750 S.E.2d 813, 816-817 (Ga. Ct. App. 2013). The 11th Circuit

has further held evidence of write-downs are admissible:

            Today, we adopt the rule that best reflects the idiosyncratic realities of
            the healthcare market, avoids reliance on arbitrary factors unrelated to
            the harm suffered by the plaintiff, and affirms our confidence in juries
            to resolve challenging questions of fact. We hold that the appropriate
            measure of medical damages is a reasonable value determined by the
            jury upon consideration of all relevant evidence. Both the amount billed
            by healthcare providers and the amount paid by insurers are admissible
            as relevant to the question of fixing reasonable value.

Higgs v. Costa Crociere S.P.A. Co., 969 F.3d 1295, 1308 (11th Cir. 2020). Although

Higgs was a maritime case, the 11th Circuit expressly stated its holding was not

limited to those cases:

            The controversy surrounding this damages question is limited neither
            to the Southern District of Florida nor to maritime law -- courts around
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            the country have struggled to calculate medical damages in tort cases
            when medical bills overstate expenses.

Id. at 1310.

            As such, Defendants also seek evidence from GSO as to the reasonable value

of the medical charges issued to Plaintiff. GSO’s bills are the basis for Plaintiff’s

damages request in this action. The evidence is expected to show that GSO and Dr.

Bendiks improperly inflate the bills in an effort to aid their referral partners, Dr.

Bendiks personally, and GSO, only to accept a fraction of the amount billed once a

case settles. No one disputes that arrangement exists, and this arrangement is the

basis of the civil racketeering lawsuit against Dr. Bendiks pending in the Western

District of North Carolina. See, Government Employees Insurance Company v. Apex

Spine & Orthopedics, LLC, et.al., 2024 WL 2820370 (W.D.N.C. June 3, 2024).

            Ultimately, the question to be answered is what amount does GSO accept on

average in satisfaction of charges issued to patients with bodily injury claims? GSO

has previously produced cherry-picked data that does not demonstrate its average

recovery percentage from its litigation lien patients. Instead, GSO produced data

limited by CPT code, then limited by the year within which the CPT code was billed

to Plaintiff. GSO’s corporate representative admitted that GSO wrote off more than

$4.6 million in 2021 for bills owed by personal injury patients but could not specify

how much. Doc. 57, Ex. “E” at 112:5-22. Likewise, the corporate representative
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could not specify how much was written off in 2022 nor 2023. Id.

            The evidence demonstrating what GSO ultimately accepted and wrote-off is

relevant and the jury is entitled to understand the complete picture of GSO’s billing

practice to resolve the question of the reasonable value of the charges. As noted in

Higgs, supra,

            The long and the short of it is that, as the Indiana Supreme Court has
            observed, the “complexities of health care pricing structures make it
            difficult to determine whether the amount paid, the amount billed, or an
            amount in between represents the reasonable value of medical
            services.” Stanley v. Walker, 906 N.E.2d 852, 857 (Ind. 2009). In this
            environment, as we see it, it would be inappropriate to impose a bright-
            line rule for the calculation of damages. Rather, in the absence of any
            legislation clarifying this measure of damage, it is wiser to leave the
            ultimate determination -- the reasonable value of medical services
            received by a particular plaintiff in a particular case -- to the jury,
            upon its consideration of all relevant evidence, notably including
            the amount billed, the amount paid, and any expert testimony and
            other relevant evidence the parties may offer.

Higgs at 1313 – 1314. Defendants have previously requested GSO produce the

report demonstrating the amounts billed and paid, and GSO cherry-picked data.

Defendants also provided GSO with an opportunity to provide testimony as to the

amounts billed and paid and GSO appeared at its 30(b)(6) with an unprepared

witness who refused or was unable to provide the requested testimony.3 Therefore,


3
 “Upon notification of a 30(b)(6) deposition, a corporation ‘cannot take a laissez faire approach to
the inquiry. That is, producing a designee and seeing what he has to say or what he can cover. A
party does not meet his obligations under Rule 26 or 30(b)(6) by figuratively throwing up its hands
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Defendants only means for obtaining the information is to ask the Court to compel

the production. Because Defendants have exhausted all other means for obtaining

the relevant evidence, Defendants request the Court grant Defendants’ Motion to

Compel by ordering the forensic review subject to the reasonable protocol.

II.         The Evidence Sought by Defendants is Proportional.

            Under Fed. R. Civ. P. 26(b)(1) the evidence sought must be proportional. The

Advisory Committee Notes with respect to the 2015 amendment to Rule 26 provide,

in relevant part:

            Restoring the proportionality calculation to Rule 26(b)(1) does not
            change the existing responsibilities of the court and the parties to
            consider proportionality, and the change does not place on the party
            seeking discovery the burden of addressing all proportionality
            considerations.

            Nor is the change intended to permit the opposing party to refuse
            discovery simply by making a boilerplate objection that it is not
            proportional. The parties and the court have a collective responsibility
            to consider the proportionality of all discovery and consider it in
            resolving discovery disputes.

Advisory Committee Notes to 2015 Amendment to Rule 26.

            Moreover, the Advisory Committee also notes:



in a gesture of helplessness.’ Poole ex rel. Elliott v. Textron, Inc., 192 F.R.D. 494, 504
(D.Md.2000) (internal quotation marks omitted). ‘If the originally designated spokesman for the
corporation lacks knowledge in the identified areas of inquiry, that does not become the inquiring
party’s problem, but demonstrates the responding party’s failure of duty.’” Otero v. Vito, 5:04 CV
211 DF, 2006 WL 3535149, at *2 (M.D. Ga. Dec. 7, 2006).
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            It also is important to repeat the caution that the monetary stakes are
            only one factor, to be balanced against other factors. The 1983
            Committee Note recognized “the significance of the substantive issues,
            as measured in philosophic, social, or institutional terms. Thus the rule
            recognizes that many cases in public policy spheres, such as
            employment practices, free speech, and other matters, may have
            importance far beyond the monetary amount involved.” Many other
            substantive areas also may involve litigation that seeks relatively small
            amounts of money, or no money at all, but that seeks to vindicate vitally
            important personal or public values.

Id. As such, the medical provider’s monetary stake in the litigation such as the value

of the lien, or amount of medical bills giving rise to Plaintiff’s special damages

should not be given greater weight or less weight than the other considerations.

            Here, GSO actively solicits patients from law firms and chiropractors and

does not accept health insurance. GSO and Dr. Bendiks have admitted that at least

70% of their patients have personal injury claims requiring causation opinions to

secure a recovery. However, the statements made by Ms. Yesuf indicate that

potentially 100% of GSO’s practice is dedicated to personal injury patients. In other

words, GSO has chosen to engage in a business model dependent upon a direct

involvement in litigation. That involvement includes holding liens against the

proceeds of lawsuits and testifying hundreds of times.

            Because GSO has chosen to tailor its business model towards participation in

litigation and bodily injury claims any concerns with respect to proportionality

should be resolved against GSO. GSO and Dr. Bendiks have very likely generated
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revenue to the tune of tens of millions of dollars by providing causation opinions to

support bodily injury claims held by their patient-plaintiffs. As such, GSO cannot

reasonably argue that discovery as to the nature and scope of Dr. Bendiks’ potential

bias is dis-proportional since Dr. Bendiks (and GSO) have long known that their

business model requires participation in litigation and discovery.

III.        The Evidence Sought by Defendants is Not Privileged nor Prohibited by
            HIPAA.

            Defendants addressed the purported privacy concerns raised by GSO in their

Motion. To briefly reiterate, HIPAA provides that disclosures pursuant to Court

order are “permitted disclosures.” 45 C.F.R. § 164.512 (e). To clarify, Defendants

have no interest in obtaining patient names. Rather, under Defendants proposed

protocol, the only individuals who would be capable of reviewing patient names are

the Court and the independent expert who will review and obtain the data and

provide the same to the Court. GSO’s production is also subject to a protective order

thus further minimizing any alleged privacy concerns.

            Finally, because the vast majority (if not all) of GSO’s patients have bodily

injury claims, all of those individuals have put their medical condition at issue

thereby waiving any privacy objections. Harris v. Tenet Healthsystem Spalding,

Inc., 322 Ga.App. 894, 896 (2013) (“once a plaintiff puts her medical condition at

issue in a case, she waives her right to privacy with regard to any medical records
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that are relevant to that medical issue.”); see also, National Stop Smoking Clinic-

Atlanta, Inc. v. Dean, 190 Ga.App. 289 (1989) (affirming trial court order

compelling clinic to produce the names and addresses of all persons who received

treatment at the clinic). Accordingly, GSO’s objections on the grounds of privacy

are without merit.

            Respectfully submitted this 23rd day of July, 2024.

                                            MCMICKLE, KUREY & BRANCH, LLP

                                            /s/ Paschal Glavinos
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                           CERTIFICATE OF COMPLIANCE

            The undersigned hereby certifies that the foregoing DEFENDANTS’

REPLY BRIEF IN SUPPORT OF MOTION TO COMPEL PRODUCTION

OF CARECLOUD REPORT FROM GEORGIA SPINE & ORTHOPEDICS

OR FOR FORENSIC INSPECTION complies with the font and point selections

approved by the Court in Local Rule 5.1C. This pleading has been prepared in Times

New Roman, 14 point font.

            This 23rd day of July, 2024.

                                             /s/ Paschal Glavinos
                                             For the Firm
                                             Attorney for Defendants




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                              CERTIFICATE OF SERVICE

            This is to certify that on this date I have electronically filed the foregoing

DEFENDANTS’ REPLY BRIEF IN SUPPORT OF MOTION TO COMPEL

PRODUCTION OF CARECLOUD REPORT FROM GEORGIA SPINE &

ORTHOPEDICS OR FOR FORENSIC INSPECTION with the Clerk of the

Court using the Pacer CM/ECF system, which will automatically send a notification

attaching same thereon to all counsel of record as follows:

                                       Danielle Bess
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                          Attorney for Georgia Spine & Orthopedics


            This 23rd day of July, 2024.

                                            /s/ Paschal Glavinos
                                            PASCHAL GLAVINOS
                                            For the Firm




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